                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )      NO. 3:12-00013
                                                       )      JUDGE CAMPBELL
MANILA VICHITVONGSA,                                   )
NICKLESS WHITSON, and                                  )
ANGELA WHITSON                                         )

                                              ORDER



       Pending before the Court is the Government’s Motion to Continue Trial (Docket No. 646).

The Court held a hearing on April 30, 2014.

       For the reasons stated from the bench, the Court granted the Motion.

       The jury trial of this case is continued to June 3, 2014 at 9:00 a.m.

       On May 6, 2014, at 9:00 a.m. jury selection will continue to pick two alternate jurors. Each

party shall have one peremptory challenge.

       The Court concludes that the period of delay occasioned by the granting of the Motion is

reasonable and is excludable under the Speedy Trial Act, 18 U.S.C. §§ 3161, et seq. The Court

specifically finds that the interests of justice is served by granting the continuance for the reasons

stated on the record. 18 U.S.C. § 3161(h)(7)(A),(B).

       It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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